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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO

KENNETH LUMAN, et al.,
          Plaintiffs,
v.                                                     CV No. 20-200 WJ/CG

BALBACH TRANSPORT, INC., et al.,
           Defendants,
__________________________

LUIS TREJO, et al.,
           Third-Party Plaintiffs,
v.
KENNETH LUMAN, et al.,
           Third-Party Defendants,
__________________________

BALBACH TRANSPORT, INC.,
          Counterclaimant,
v.
KENNETH LUMAN, et al.,
           Counter-Defendants
__________________________

LUIS TREJO,
           Third-party Plaintiff
v.
KENNETH LUMAN, et al.,
           Third-party Defendants,
__________________________

LUIS TREJO,
           Counterclaimant,
v.
GREENWOOD MOTOR LINES, INC., et al.,
        Counter-Defendants.

            ORDER RESETTING TELEPHONIC STATUS CONFERENCE

      IT IS HEREBY ORDERED that the previously scheduled status conference set

for Thursday, December 3, 2020, at 2:00 p.m. is RESET for Tuesday, December 1,
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2020, at 2:00 p.m. The parties shall call Judge Garza’s AT&T Teleconference line at

(877) 810-9415, follow the prompts, and enter the Access Code 7467959, to be

connected to the proceedings.

      IT IS SO ORDERED.



                                 THE HONORABLE CARMEN E. GARZA
                                 CHIEF UNITED STATES MAGISTRATE JUDGE
